Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 1 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 2 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 3 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 4 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 5 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 6 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 7 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 8 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 9 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 10 of 11
Case 16-01127   Doc 51   Filed 05/12/17 Entered 05/12/17 16:04:35   Desc Main
                          Document     Page 11 of 11
